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 6   Attorneys for Plaintiff
 7
                           UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
 9
     BRANDON VOGTS, an individual,             Case No.
10
11   Plaintiff,                                COMPLAINT FOR COPYRIGHT
                                               INFRINGEMENT
12   v.
13
                                               Jury Trial Demanded
     EDVIN PIRVERDIAN, an individual;
14   and DOES 1-10,
15
     Defendants.
16
17          Brandon Vogts, through counsel, hereby prays to this honorable Court for
18   relief based on the following:
19                              JURISDICTION AND VENUE
20          1.      This action arises under the Copyright Act, 17 U.S.C. § 101, et seq.
21          2.      This Court has federal question jurisdiction under 28 U.S.C. §§ 1331,
22   1338(a)-(b).
23          3.      Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c) and
24   1400(a) because a substantial part of the acts and omissions giving rise to the claims
25   occurred in this judicial district.
26                                         PARTIES
27          4.      Vogts is a professional photographer residing in Los Angeles, CA.
28   Vogts specializes in photographing real estate and architecture.

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                                            COMPLAINT
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 1         5.     Upon information and belief, Defendant Edvin Pirverdian is an
 2   individual residing and/or maintaining principal places of business in this judicial
 3   district at 6051 Varna Ave, Van Nuys, CA 91401; and 5920 Hillview Park Ave,
 4   Valley Glen, CA 91401.
 5         6.     Upon information and belief, Defendants DOES 1-10 (collectively
 6   with Pirverdian, “Defendants”), are other parties not yet identified who have
 7   infringed Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s
 8   copyrights, or have engaged in one or more of the wrongful acts alleged herein.
 9   The true names, whether corporate, individual or otherwise, of DOE Defendants
10   are presently unknown to Plaintiff, who therefore sues said DOE Defendants by
11   such fictitious names, and will seek leave to amend this Complaint to show their
12   true names and capacities when the same have been ascertained.
13         7. Upon information and belief, each of the Defendants was the agent,
14   affiliate, officer, director, manager, principal, alter-ego, and/or employee of the
15   remaining Defendants, and was at all times acting within the scope of such
16   agency, affiliation, alter-ego relationship, and/or employment; and actively
17   participated in, subsequently ratified, and/or adopted each of the acts or conduct
18   alleged, with full knowledge of each violation of Plaintiff’s rights and the
19   damages to Plaintiff proximately caused thereby.
20              DEFENDANTS’ UNAUTHORIZED EXPLOITATION OF
21                          THE SUBJECT PHOTOGRAPHS
22         8.     Vogts took and owns 21 original photographs registered with the U.S.
23   Copyright Office (collectively, the “Subject Photographs”).
24         9.     Following the publication and display of the Subject Photographs,
25   Defendants (and each of them) uploaded and displayed verbatim copies of the
26   Subject Photographs, in their entireties and for commercial purposes, on
27   zillow.com, redfin.com, and rent.com without Vogts’ permission (collectively, the
28   “Accused Posts”):

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                                          COMPLAINT
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 2    #          Subject Photographs                      Accused Posts
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 7
 8        20230830_5920_Hillview_Park_Ave
 9                     _001
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          20230830_5920_Hillview_Park_Ave
16                    _002-2
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          20230830_5920_Hillview_Park_Ave
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                       _004
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                                       COMPLAINT
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 1    #          Subject Photographs                      Accused Posts
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 7        20230830_5920_Hillview_Park_Ave
 8                     _005
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          20230830_5920_Hillview_Park_Ave
15                     _006
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22        20230830_5920_Hillview_Park_Ave
                       _008
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                                       COMPLAINT
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 1    #          Subject Photographs                      Accused Posts
     7
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 7        20230830_5920_Hillview_Park_Ave
 8                     _009
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          20230830_5920_Hillview_Park_Ave
15                     _010
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          20230830_5920_Hillview_Park_Ave
                       _012
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                                       COMPLAINT
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 1    #          Subject Photographs                      Accused Posts
     10
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 7        20230830_5920_Hillview_Park_Ave
 8                     _013
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          20230830_5920_Hillview_Park_Ave
15                     _015
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          20230830_5920_Hillview_Park_Ave
22                     _018
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                                       COMPLAINT
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 1    #          Subject Photographs                      Accused Posts
     13
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 7        20230830_5920_Hillview_Park_Ave
 8                     _019
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          20230830_5920_Hillview_Park_Ave
15                     _021
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          20230830_5920_Hillview_Park_Ave
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                       _022
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                                       COMPLAINT
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 1    #          Subject Photographs                      Accused Posts
     16
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          20230830_5920_Hillview_Park_Ave
 8                     _024
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          20230830_5920_Hillview_Park_Ave
15                     _026
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          20230830_5920_Hillview_Park_Ave
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                       _028
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                                       COMPLAINT
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 1   #          Subject Photographs                              Accused Posts
          20230830_5920_Hillview_Park_Ave
 2                      _031
 3   20

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 9        20230830_5920_Hillview_Park_Ave
10                     _040
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          20230830_5920_Hillview_Park_Ave
17                     _042
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19          10.     In December 2023, Vogts sent correspondence to Pirverdian
20   demanding that he remove the Accused Posts and provide information regarding
21   the unauthorized exploitation of the Subject Photographs to explore an amicable
22   resolution without litigation. The parties were unable to reach such a resolution,
23   necessitating this action.
24                                FIRST CLAIM FOR RELIEF
25                (For Copyright Infringement – Against All Defendants, and Each)
26          11.     Plaintiff incorporates by reference the allegations contained in the
27   preceding paragraphs of this Complaint.
28

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 1         12.      Upon information and belief, Plaintiff alleges that Defendants, and
 2   each of them, had access to the Subject Photographs, including through Multiple
 3   Listing Services, Plaintiff’s website, a third-party website, an authorized licensee
 4   of the Subject Photographs, or Internet search engine; and/or because the Accused
 5   Posts are verbatim copies of, and thus strikingly similar to, the Subject
 6   Photographs.
 7         13.      Defendants, and each of them, displayed, distributed, and/or otherwise
 8   used the Subject Photographs for commercial purposes without Plaintiff’s
 9   permission.
10         14.      Due to Defendants’ (and each of their) acts of copyright infringement,
11   Plaintiff has suffered damages in an amount to be established at trial.
12         15.      Due to Defendants’ (and each of their) acts of copyright infringement,
13   Defendants, and each of them, have obtained profits they would not have realized
14   but for their infringement. This entitles Plaintiff to disgorgement of Defendants’
15   profits attributable to their infringement in an amount to be established at trial.
16         16.      Upon information and belief, Plaintiff alleges that Defendants, and
17   each of them, have committed copyright infringement with actual or constructive
18   knowledge of, or in reckless disregard or willful blindness for, Plaintiff’s rights,
19   such that said acts of copyright infringement were willful.
20                                  PRAYER FOR RELIEF
21         WHEREFORE, Plaintiff prays for judgment as follows against all
22   Defendants and with respect to each claim for relief:
23               a. That Plaintiff be awarded Defendants’ profits, plus Plaintiff’s losses,
24                  attributable to Defendants’ infringement, the exact sum to be proven
25                  at the time of trial; or alternatively, if elected, statutory damages as
26                  available under 17 U.S.C. § 504;
27               b. That Plaintiff be awarded its fees under 17 U.S.C. § 505;
28               c. That Plaintiff be awarded its recoverable costs in this action;

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 1            d. That Plaintiff be awarded pre-judgment interest as allowed by law;
 2            e. That Plaintiff be awarded such further relief as the Court deems
 3               proper.
 4                                    JURY DEMAND
 5         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ.
 6   P. 38 and the 7th Amendment to the United States Constitution.
 7
 8   Dated: April 30, 2024                         DONIGER / BURROUGHS
 9                                          By:    /s/ Stephen M. Doniger
10
                                                   Stephen M. Doniger, Esq.
                                                   Benjamin F. Tookey, Esq.
11                                                 Attorneys for Plaintiff
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